         Case 1:21-cr-00190-DLF        Document 133        Filed 08/08/24     Page 1 of 18




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

    v.
                                                     Case No. 1:21-cr-00190(DLF)
 ZACHARY JORDAN ALAM,

     Defendant.

          GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

         Pursuant to the Court’s order issued on June 28, 2024, and as extended by further order on

July 5, 2024, the government hereby files its supplemental sentencing memorandum addressing

the U.S. Supreme Court’s decision in Fischer v. United States, 144 S. Ct. 2176, 2181 (2024). The

government is separately addressing the Court’s order to show cause in a concurrently filed

pleading.

         The defendant was tried by jury in September of 2023 and was found guilty at trial of 10

criminal offenses for his criminal conduct on January 6, 2021. Among those charges was

obstruction of an official proceeding, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count 5). ECF

No. 110. On June 28, 2024, the Supreme Court issued an opinion in Fischer v. United States, 144

S. Ct. 2176, 2181 (2024). Fischer held that Section 1512(c) does not cover “all means of

obstructing, influencing, or impeding any official proceeding.” Id. at 2185. The Court held that, to

prove a violation of Section 1512(c)(2), the government must establish that the defendant impaired

the availability or integrity for use in an official proceeding of records, documents, objects, or

other things used in the proceeding – such as witness testimony or intangible information – or

                                                 1
        Case 1:21-cr-00190-DLF         Document 133        Filed 08/08/24      Page 2 of 18




attempted to do so. Id. at 2186, 2190. The Supreme Court remanded the case to the D.C. Circuit

for further proceedings and to assess the sufficiency of the indictment on that count. Id. at 2190.

        In its Order of June 28, 2023, the Court ordered the government to show cause why Count

Five of the Second Superseding Indictment should not be dismissed in light of Fischer, and further

that the parties submit supplemental sentencing memoranda discussing the impact of Fischer on

the defendant's Guidelines range and appropriate sentence under 18 U.S.C. 3553(a).

        As detailed below, a conviction on Count Five does not impact in any way the sentencing

guideline calculations or the government’s sentencing recommendation in this case as to the nine

other counts of conviction. In light of this and in the interest of proceeding efficiently towards

sentencing on the defendant’s other counts of conviction, the government is moving to dismiss

Count Five in its contemporaneously filed motion.

   I.      INTRODUCTION

        As detailed in the government’s previous sentencing memorandum, ECF 123, the

defendant participated in the January 6, 2021, attack on the United States Capitol—a violent attack

that forced an interruption of the certification of the 2020 Electoral College vote count, threatened

the peaceful transfer of power after the 2020 Presidential election, injured more than one hundred

police officers, and resulted in more than 2.9 million dollars in losses. And he did not just

participate. The defendant was one of the most violent and aggressive members of the mob in some

of the most sensitive areas of the Capitol building. He spent the day antagonizing officers and

inciting other rioters, culminating in his repeated violent and forceful attempts to reach

congressional members and staffers as they frantically evacuated the House floor. That Count Five


                                                 2
         Case 1:21-cr-00190-DLF       Document 133        Filed 08/08/24      Page 3 of 18




will no longer be before the Court has no bearing on the sentence the government argues the

defendant should receive, not only because it does not affect the guideline calculations and

recommended upward departures, but also because it in no way alters the nature and extent of the

defendant’s violent and incendiary acts on that day.

   II.      THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         The guideline calculation provided by the government in its initial sentencing

memorandum included a calculation for Count Five. However, grouping of counts under the

Sentencing Guidelines resulted in Count Five having no impact on the total offense level after

application of U.S.S.G. § 3D1.2. ECF 123 at 27-28. For the purposes of clarity, the government

presents its guideline analysis below, with Count Five not included in its calculation.

         Count One: 18 U.S.C. § 111(a)(1)—Assaulting, Resisting, or Impeding Certain
         Officers (Alam's throwing himself against officers as he smashed the windows
         behind them with his fists)

         The Statutory Index references two guidelines for 18 U.S.C. §111, U.S.S.G. §§ 2A2.2

(Aggravated Assault) and 2A2.4 (Obstructing or Impeding Officers). The guidelines direct that, if

Appendix A lists more than one guideline, use the “most appropriate” guideline for the offense

conduct charged in the count of conviction. See § 1B1.2 N.1. Here, the most applicable guideline

is U.S.S.G. 2A2.4 (Obstructing or Impeding Officers).


 Base Offense Level          10            U.S.S.G. § 2A2.4
 Specific Offense            +3            U.S.S.G. § 2A2.4(b)(1): “If (A) the offense involved
 Characteristic                            physical contact … increase by 3 levels.”

                                           Alam made physical contact with three officers. Alam
                                           pushed against the officers with his body as he
                                           punched out the glass windows of the doors
                                           immediately behind the officers’ heads.
                                                 3
         Case 1:21-cr-00190-DLF       Document 133      Filed 08/08/24       Page 4 of 18




 Cross Reference             See below   U.S.S.G. §2A2.4(c) directs that the cross-reference in
                                         §2A2.2 applies “if the conduct constituted aggravated
                                         assault.”
                                         “Aggravated assault,” under comment 1 to §2A2.2
                                         “means a felonious assault that involved . . . (D) an
                                         intent to commit another felony.”

                                         Alam’s assault constituted a felonious assault because
                                         it involved the intent to commit another felony.
                                         Alam’s assault on law enforcement was directly
                                         related to his participation in and support of the civil
                                         disorder. Because the felonious assault was committed
                                         with the intent to commit another felony, i.e., to
                                         obstruct officers during the civil disorder (in violation
                                         of 18 U.S.C. § 231(a)(3)), the assault also constituted
                                         an aggravated assault pursuant to U.S.S.G. § 2A2.2
                                         cmt. n.1(D).
 Base Offense Level          14          U.S.S.G. § 2A2.2
 Official Victim             +6          U.S.S.G. § 3A1.2(a), (b): If the victim was a
                                         government officer or employee, the offense of
                                         conviction was motivated by such status, and the
                                         applicable guideline is from Chapter Two, Part A
                                         (Offenses Against the Person), increase by 6 levels.

                                         The officers Alam assaulted were from the USCP.
                                         They wore clearly marked uniforms and gave orders
                                         for rioters to stop. Alam actions made it clear he was
                                         willing to go through officers to access the House, thus
                                         he was motivated by their status as police officers.
 Total                       20

         Count Three: 18 U.S.C. § 231(a)(3) --Obstructing Officers During a Civil Disorder
         and Aiding and Abetting

         Since there is no applicable Chapter Two Guideline for this offense in the Statutory

Appendix, use “the most analogous guideline.” U.S.S.G. § 2X5.1. Here, that is U.S.S.G. § 2A2.4,

“Obstructing or Impeding Officers.”




                                               4
        Case 1:21-cr-00190-DLF     Document 133      Filed 08/08/24      Page 5 of 18




Base Offense Level        10          U.S.S.G. § 2A2.4(a)
Specific Offense          +3          U.S.S.G. § 2A2.4(b)(1): “If (A) the offense involved
Characteristic                        physical contact … increase by 3 levels.”

                                      See analysis in Count 1.
Cross reference           See         U.S.S.G. § 2A2.4(c)(1): “If the conduct constituted
                          below.      aggravated assault, apply § 2A2.2 (Aggravated
                                      Assault).”

                                      The Application Notes to Section 2A2.2 define
                                      “aggravated assault” as a “a felonious assault that
                                      involved . . . (A) a dangerous weapon with intent to
                                      cause bodily injury (i.e., not merely to frighten) with
                                      that weapon; (B) serious bodily injury; . . . or (D) an
                                      intent to commit another felony.” U.S.S.G. § 2A2.2
                                      cmt. n.1.
                                      See analysis in Count 1.
Base Offense Level        14          U.S.S.G. §2A2.2(a) (Aggravated Assault)
Special Offense           +4          U.S.S.G. § 2A2.2(b)(2)
Characteristic:                       Alam used a helmet to bash the windows out of the
Dangerous Weapon                      Speaker Lobby Door. This was one of the most fraught
                                      and dangerous moments in the January 6 attack on the
                                      Capitol. While Alam was striking the glass, members
                                      of Congress had not fully evacuated the House
                                      Chambers, and some members of Congress were just
                                      yards away from Alam and the other rioters. Other
                                      House members in the Upper House Chamber had not
                                      yet been able to evacuate and had sheltered in-place.
                                      Alam’s actions in breaking the glass with his fists and
                                      then the helmet further incited the mob and had he and
                                      other rioters broken through the door, would have
                                      placed members of Congress in even more serious risk
                                      of injury.
Chapter Three             +6          U.S.S.G. § 3A1.2(a), (b): If the victim was a
Adjustment                            government officer or employee, the offense of
                                      conviction was motivated by such status, and the
                                      applicable guideline is from Chapter Two, Part A
                                      (Offenses Against the Person), increase by 6 levels.

                                      See analysis in Count 1.
Total                     24
                                           5
      Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24      Page 6 of 18




       Count Four: 18 U.S.C. § 1361-Destruction of Property

 Base offense level    6                U.S.S.G. §2B1.1(a)(2)
 Special Offense       14               U.S.S.G. §2B1.1(b)(16)(A) & (B): “If the offense
 Characteristic:                        involved (A) the conscious or reckless risk of death or
 possession of a                        serious bodily injury or (B) possession of a dangerous
 dangerous weapon                       weapon (including a firearm) in connection with the
                                        offense, increase by 2 levels. If the resulting offense
                                        level is less than level 14, increase to level 14.”

                                        Alam used a helmet to bash the windows out of the
                                        Speaker Lobby Door. The moment when Alam began to
                                        bash the glass window of the Speaker Lobby Door was
                                        one of the most fraught and dangerous moments in the
                                        January 6 attack on the Capitol. While Alam was striking
                                        the glass, members of Congress had not fully evacuated
                                        the House Chambers, and some members of Congress
                                        were just yards away from Alam and the other rioters.
                                        Other House members in the Upper House Chamber had
                                        not yet been able to evacuate and had sheltered in-place.
                                        Alam’s actions in breaking the glass with the helmet and
                                        with his fists incited the mob and had he and other rioters
                                        broken through the door, would have placed members of
                                        Congress in even more serious risk of injury.
 Total offense level     14

       Count Six: 18 U.S.C. § 1752(a)(1), (b)(1)(A)—Entering or Remaining in a Restricted
       Building or Grounds with a Deadly or Dangerous Weapon

       The Statutory Appendix lists two guidelines for a Section 1752 offense, U.S.S.G. §2A2.4

(Obstructing or Impeding Officers) and §2B2.3 (Trespass). The Guidelines direct that, if Appendix

A specifies more than one guideline, use the “most appropriate” guideline for the offense conduct

charged in the count of conviction. See §1B1.2 n.1. Here, the most applicable guideline is § 2B2.3.




                                                6
     Case 1:21-cr-00190-DLF     Document 133       Filed 08/08/24     Page 7 of 18




Base Offense Level:    4                  U.S.S.G. § 2B2.3(a)
Specific Offense       +2                 U.S.S.G. § 2B2.3(b)(1)(A)(vii): the trespass
characteristic                            occurred “at any restricted building or grounds.”
                                          On January 6, 2021, the U.S. Capitol was
                                          restricted because protectees of the United
                                          States Secret Service were visiting. See 18
                                          U.S.C. § 1752(c)(1)(B).
Specific Offense       +2                 U.S.S.G. § 2B2.3(b)(2): a dangerous weapon
characteristic                            was possessed.

                                      The jury’s conviction necessarily means Alam
                                      possessed a dangerous weapon in the restricted
                                      area of the Capitol complex on January 6, 2021.
                                      Alam possessed and used a helmet in a
                                      dangerous and deadly manner to smash through
                                      the windows of the Speaker’s Lobby doors.
Cross Reference       See below.      U.S.S.G. § 2B2.3(c)(1): “If the offense was
                                      committed with the intent to commit a felony
                                      offense, apply § 2X1.1 in respect to that felony
                                      offense, if the resulting offense level is greater
                                      than that determined above.”
Base Offense Level     14 (from Count U.S.S.G. § 2X1.1(a): “The base offense level
(adjusted)            Three)          from the guideline for the substantive offense,
                                      plus any adjustments from such guideline for
                                      any intended offense conduct that can be
                                      established with reasonable certainty.”

                                          Alam entered and remained in the restricted area
                                          of the Capitol building for the purpose of
                                          obstructing officers during a civil disorder. The
                                          substantive offense is thus Count Three.
                                          Accordingly, the guideline for Count Three
                                          (U.S.S.G. § 2A2.2) applies here.

                                          See Count Three above for detailed explanations
                                          of the applicability of the specific offense
                                          characteristics in U.S.S.G. § 2A2.2.
Special Offense       +4                  U.S.S.G. § 2A2.2(b)(2)(B): “a dangerous
Characteristic:                           weapon
Dangerous Weapon                          (including a firearm) was otherwise used.”



                                          7
         Case 1:21-cr-00190-DLF       Document 133        Filed 08/08/24       Page 8 of 18




                                                 See also the analysis in Count 3.
 Total                     18

         Count Seven: 18 U.S.C. § 1752(a)(2), (b)(1)(A)—Disorderly and Disruptive Conduct
         in a Restricted Building or Grounds with a Deadly or Dangerous Weapon

         The Statutory Appendix lists two guidelines for a Section 1752 offense, U.S.S.G. §2A2.4

(Obstructing or Impeding Officers) and §2B2.3 (Trespass). The Guidelines direct that, if Appendix

A specifies more than one guideline, use the “most appropriate” guideline for the offense conduct

charged in the count of conviction. See §1B1.2 n.1. Here, the most applicable guideline is § 2A2.4.


 Base/Total Offense        10        U.S.S.G. § 2A2.4(a)
 Level:
 Specific Offense          +3        U.S.S.G. § 2A2.4(b)(1)(A): “If (A) the offense involved
 Characteristic                      physical contact … increase by 3 levels.”

                                     Alam committed an assault while engaging in disorderly
                                     and disruptive conduct on restricted Capitol grounds which
                                     involved physical contact when he pushed against officers
                                     guarding the Speaker’s Lobby and punched around their
                                     heads and faces.
 Cross Reference           See       U.S.S.G. §2A2.4(c) directs that the cross-reference in
                           below     §2A2.2 applies “if the conduct constituted aggravated
                                     assault.”
                                     “Aggravated assault,” under comment 1 to §2A2.2 “means
                                     a felonious assault that involved (A) a dangerous weapon
                                     with intent to cause bodily injury with that weapon; (B)
                                     serious bodily injury; . . . or (D) an intent to commit another
                                     felony.”

                                     See analysis in Count 1.
 Base Offense Level        14        U.S.S.G. § 2A2.2
 Special Offense           +4        U.S.S.G. § 2A2.2(b)(2)(B): “a dangerous weapon
 Characteristic:                     (including a firearm) was otherwise used.”
 Dangerous Weapon
                                     The Jury’s guilty verdict on Count Six established that
                                     Alam used or carried a dangerous weapon. See 18 U.S.C.
                                     § 1752(b)(1)(A) (punishing the defendant for “during and
                                     in relation to the offense, us[ing] or carri[ng] a deadly or
                                                 8
         Case 1:21-cr-00190-DLF       Document 133        Filed 08/08/24       Page 9 of 18




                                     dangerous weapon or firearm”). In this case, Alam used
                                     the helmet to smash the windows. See U.S.S.G. § 1B1.1
                                     cmt. n.1(E).

                                     See also the analysis in Count 3.
 Total                      18

         Count Eight: 18 U.S.C. § 1752(a)(4), (b)(1)(A)— Engaging in Physical Violence in a
         Restricted Building or Grounds with a Deadly or Dangerous Weapon

         The Statutory Appendix lists two guidelines for a Section 1752 offense, U.S.S.G. §2A2.4

(Obstructing or Impeding Officers) and §2B2.3 (Trespass). The Guidelines direct that, if Appendix

A specifies more than one guideline, use the “most appropriate” guideline for the offense conduct

charged in the count of conviction. See §1B1.2 n.1. Here, the most applicable guideline is § 2A2.4.


 Base/Total Offense        10        U.S.S.G. § 2A2.4(a)
 Level:
 Specific Offense          +3        U.S.S.G. § 2A2.4(b)(1)(A): “If (A) the offense involved
 Characteristic                      physical contact … increase by 3 levels.”

                                     See analysis above.
 Specific Offense          +3        U.S.S.G. § 2A2.4(b)(1)(B): If “(B) a dangerous weapon
 Characteristic                      (including a firearm) was possessed and its use was
                                     threatened, increase by 3 levels.”

                                     See analysis above.
 Cross Reference           See       U.S.S.G. §2A2.4(c) directs that the cross-reference in
                           below     §2A2.2 applies “if the conduct constituted aggravated
                                     assault.”

                                     “Aggravated assault,” under comment 1 to §2A2.2 “means
                                     a felonious assault that involved (A) a dangerous weapon
                                     with intent to cause bodily injury with that weapon; (B)
                                     serious bodily injury; . . . or (D) an intent to commit another
                                     felony.”

                                     See analysis in Count 1.
 Base Offense Level        14        U.S.S.G. § 2A2.2

                                                9
      Case 1:21-cr-00190-DLF         Document 133        Filed 08/08/24      Page 10 of 18




 Specific Offense          +4        U.S.S.G. § 2A2.2(b)(2)(B): “a dangerous weapon
 Characteristic                      (including a firearm) was otherwise used.”

                                     See analysis above for Count 3.
 Chapter Three             +6        U.S.S.G. § 3A1.2(a), (b)
 Adjustment
                                     The victims of Alam’s physical violence include MPD
                                     Officers Yetter, Lively, and Lanciano, who are government
                                     officers. Alam’s conduct was motivated by their status as
                                     police officers who were doing their job, attempting to clear
                                     the rioters from the Capitol building and grounds.

                                     See the U.S.S.G. § 3A1.2(c)(1) analysis in Count 1.
 Total                     24

         Counts Nine, Ten and Eleven: 40 U.S.C. § 5104(e)(2)(D), (F), and (G)—Disorderly
         Conduct, Physical Violence and Parading, Demonstrating, or Picketing in a Capitol
         Building or Grounds.

         Counts Nine, Ten, and Eleven are Class B misdemeanors to which the Sentencing

Guidelines do not apply. See USSG §§ 1B1.2(a), 1B1.9; 18 U.S.C. § 3559(a)(7); 40 U.S.C. §

5109(b).

         Grouping Analysis

         Under U.S.S.G. § 3D1.2, “closely related counts” group.

         Group 1

         Counts One, Three, and Eight group under U.S.S.G. §3D1.2(b) because they involve the

same victim—USCP officers at the Speaker’s Lobby door—and similar acts “connected by a

common criminal objective”—assaulting and obstructing officers trying to protect the House floor.

Counts Three and Eight have the highest offense level for the group (24), and accordingly, the

offense level for Group 1 is 24.


                                               10
     Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24    Page 11 of 18




        Group 2

       Counts Six and Seven group under U.S.S.G. §3D1.2(b) because they involve the same

victim—Congress—and similar acts “connected by a common criminal objective” – obstruction

through trespass and disruptive conduct. Counts Six and Seven share the highest offense level for

the group (18), and accordingly, the offense level for Group 2 is 18

       Group 3

       “Group 3” consists of Count Four and involves the Capitol Architect as a victim.

       Combined Offense Level

       Groups One, Two, and Three will all group under U.S.S.G. § 3D1.2(c) because Count Four

embodies conduct (the use of the helmet to bash the windows out of the Speaker Lobby Door) that

serves as a specific offense characteristic (use of a dangerous weapon, pursuant to U.S.S.G. §

2A2.2(b)(2)(B)) to counts in Group 1 (Counts Three and Eight) and Group 2 (Counts Six and

Seven). Therefore, the combined offense level is 26.

       Request for a Six Level Departure Remains Warranted

       After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c) and § 1B1.1, cmt. (background). The departures

recommended by the government in its initial sentencing memorandum apply with equal weight

as before. Because the defendant’s Guidelines range does not capture the unprecedented and

uniquely harmful nature of his crimes, which struck at the heart of our democracy and the rule of

law, the government respectfully requests that the Court depart or vary upwards from the top of

the Guidelines range.


                                                11
      Case 1:21-cr-00190-DLF          Document 133         Filed 08/08/24      Page 12 of 18




       Alam was an avid and willing participant in an unprecedented crime. He was consistently

at the forefront of a mob that threatened the lives of legislators and their staff, interrupted of the

certification of the 2020 Electoral College vote count, injured more than one hundred police

officers and resulted in more than 2.9 million dollars in losses. He targeted the peaceful transfer of

power, an essential government function, and one of the fundamental and foundational principles

of our democracy. Like every member of the mob, Alam “endanger[ed] our democratic processes

and temporarily derail[ed] Congress’s constitutional work.” United States v. Brock, 94 F.4th 39,

59 (D.C. Cir. 2024). As Judge McFadden put it to another rioter, “[Y]ou and your fellow rioters

were responsible for substantially interfering with the certification, causing a multiple-hour delay,

numerous law enforcement injuries and the expenditure of extensive resources.” United States v.

Hale-Cusanelli, 21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87. Alam’s actions transcend those of

the hundreds of rioters surrounding him. He is one of a very small number of defendants who

incited others, assaulted officers, destroyed property, and unlawfully entered the building. Alam

was consistently at the head of the fray, escalated several encounters with police, and smashed the

final barricade in the Speaker’s Lobby that stood between the angry mob and their quarry.

       But nothing in this defendant’s Guidelines calculation reflects these facts. Defendant would

face the same offense level if his crimes had not endangered the democratic process or interfered

with the peaceful transfer of power. 1 There is no specific offense characteristic in the Guidelines



1
  The D.C. Circuit’s holding in United States v. Brock, 94 F.4th 39 (D.C. Cir. 2024), finding that
certain sentencing enhancements did not apply to the Congress’s counting and certification of the
electoral college votes, despite acknowledging that interference with this process “no doubt
endanger[ed] our democratic process and temporarily derail[ed] Congress’s constitutional work”
demonstrates that the Sentencing Commission failed to anticipate anything like the January 6 riot
                                               12
      Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24      Page 13 of 18




for attacking democracy or abandoning the rule of law. “And simply saying, yeah, I know I

trespassed, I trespassed, that’s not really capturing the impact of what that day meant when all of

those members of Congress met there to fulfill their constitutional duty.” United States v. Calhoun,

21-CR-116-DLF, Sent. Tr. at 85. So a sentence within the defendant’s Guidelines range here would

not “reflect the seriousness of the offense,” “promote respect for the law,” or “provide just

punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

               Upward Departure Pursuant to U.S.S.G. § 5K2.7

       The Guidelines expressly state that a departure is warranted when an offense results in “a

significant disruption of a governmental function” and the Guidelines do not reflect the appropriate

punishment for the offense. U.S.S.G. § 5K2.7. 2 In such circumstances, “the court may increase

the sentence above the authorized guideline range to [1] reflect the nature and extent of the

disruption and [2] the importance of the governmental function affected.” As discussed in the

government’s sentencing memorandum, Alam’s conduct on January 6, 2021, warrants a four-level

upward departure under U.S.S.G. § 5K2.7 for disruption of government function. This is even

more true now post-Fischer, as the defendant will otherwise not be held fully accountable for his

plan to obstruct the congressional certification of the presidential election. Notwithstanding that

the Fischer case results in no conviction under Count Five for the defendant, the jury still found,



when drafting the Guidelines. And the Supreme Court’s recent decision in Fischer demonstrates
that even the criminal code lacks the appropriate tools to fully address the crimes of January 6. See
Fischer, slip op. at 29 (Barrett, J., dissenting) (“Who could blame Congress for [its] failure of
imagination?”).
2
  This guideline does not require the government to establish a direct link between the defendant’s
misconduct and the alleged disruption, nor does it “require that the disruption be of any particular
type or consequence.” See United States v. Saani, 650 F.3d 761, 765–66, 771 (D.C. Cir. 2011).
                                                 13
      Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24      Page 14 of 18




beyond a reasonable doubt, that he specifically intended to obstruct the congressional certification.

For those intentional and egregious actions to have no impact on his sentence in this case would

not hold him fully accountable for the full measure of his conduct.

       Chapter 5, Part K of the Guidelines “identifies some of the circumstances that the

Commission may have not adequately taken into consideration in determining the applicable

guideline range,” which may warrant a departure. U.S.S.G. § 5K2.0(a)(2)(A). One such

circumstance is when an offense results in “a significant disruption of a governmental function.”

U.S.S.G. § 5K2.7. A departure under this guideline is warranted in “unusual” circumstances where

the Guidelines do not reflect the appropriate punishment for the offense. Id. In such circumstances,

“the court may increase the sentence above the authorized guideline range to [1] reflect the nature

and extent of the disruption and [2] the importance of the governmental function affected.” Id.

Indeed, judges of this Court have already applied § 5K2.7 in January 6 cases. See United States v.

Eicher, 22-cr-38 (BAH), Sent. Tr. 9/15/23 at 50 (applying § 5K2.7 because the defendant “join[ed]

a mob, in the center of the melee, and through the sheer numbers and aggressive conduct towards

police, breached the Capitol resulting in stopping the legitimate business of Congress for hours”);

United States v. Black, 21-CR127-ABJ, Sent. Tr. 5/16/23 at 27 (applying an upward departure

pursuant to § 5K2.7 for a January 6 rioter). Because the seriousness of defendant’s crimes is not

adequately captured by the applicable Guidelines, an upward departure under § 5K2.7 is

appropriate.




                                                 14
      Case 1:21-cr-00190-DLF         Document 133        Filed 08/08/24      Page 15 of 18




               Upward Departure under U.S.S.G. § 3A1.4, Note 4

       The government’s sentencing memorandum also requested a departure under Section

3A1.4, Note 4, of the Guidelines and sought an additional two-level departure to account for his

threatening, violent, and horrific conduct intended to coerce government. The government’s

request for this departure is unaffected by the dismissal of Count Five and continues to be fully

warranted for all of the reasons previously stated in the government’s sentencing memorandum.

ECF 123, at 33-38.

       Fischer has no bearing on the fact that, while a misdemeanor conviction of §1361 does not

expressly qualify for an adjustment under Section 3A1.4, it does warrant an upward departure

under §3A1.4 cmt. n.4(A) (“Note 4”) under these aggravating circumstances. ECF 123, at 33-34.

       Further, the Fischer case does not change the fact that the defendant’s words and actions

were “calculated to influence or affect the conduct of government by intimidation or coercion, or

to retaliate against government conduct,” as Note 4 specifically states warrants an upward

departure. Id., cmt. n.4(A). The defendant’s felony offenses of Assaulting, Resisting or Impeding

Certain Officers (Count One) and Interference with Officers During a Civil Disorder are not

enumerated under 18 U.S.C. § 2332b(g)(5), but these offenses were clearly “calculated to influence

or affect the conduct of government by intimidation or coercion, or to retaliate against government

conduct.” Id. Further, Alam was also found guilty of three additional offenses which involved

physical violence and/or a dangerous weapon. As the underlying evidence reflects, the defendant

attempted to, and temporarily did, prevent Congress from certifying the 2020 Electoral College

vote and did physically prevent Members of Congress from performing their constitutional duties


                                                15
      Case 1:21-cr-00190-DLF          Document 133       Filed 08/08/24      Page 16 of 18




inside the Capitol building, all through the threatened and actual use of force, directed at police

and legislators alike.

        Variance from the Guidelines

        If the Court declines to depart, an upward variance is warranted. An upward variance is

appropriate when “the defendant’s conduct was more harmful or egregious than the typical case

represented by the relevant Sentencing Guidelines range.” United States v. Murray, 897 F.3d 298,

308–09 (D.C. Cir. 2018) (cleaned up). While the Supreme Court’s decision in Fischer has changed

defendants’ advisory Guideline range in some cases, “Fischer does not dictate the Court’s

application of the 18 U.S.C. 3553(a) factors [because] the Court may still consider [defendant’s]

serious conduct on January 6th, 2021 in its entirety. To reduce [defendant’s] sentence . . . would

require this Court to take a drastically different view of [defendant’s] conduct.” United States v.

Hostetter, 21-CR-392-RCL, ECF 507, at 4-5 (cleaned up). See also, United States v. Kelly, 21-

CR-708-RCL, ECF 151, at 5 (“Nothing about Fischer or any hypothetical outcome of

[defendant’s] appeal bears directly on the severity of his conduct on January 6th . . . . Likewise,

the outcome in Fischer would not dictate the Court’s application of the sentencing factors

prescribed in 18 U.S.C. § 3553(a)”)

        Also unprecedented is the need for January 6 sentences to promote respect for the law and

deter future crime. See 18 U.S.C. § 3553(a)(2)(A), (B). The January 6 rioters went far beyond

merely breaking the law. “There is a difference between breaking the law and rejecting the rule of

law.” See Opening Remarks, January 6 Select Committee (Rep. Kinzinger).




                                                16
      Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24      Page 17 of 18




       And the risk of another attack on the Capitol remains. “The heated and inflammatory

rhetoric that brought the defendant to the District has not subsided. The lie that the election was

stolen and illegitimate is still being perpetrated..” United States v. Cleveland, 21-CR-159-ABJ,

Sent. Tr. at 94-95. Powerful voices continue to minimize the crimes that occurred on that day. If

we are to prevent another January 6 and restore respect for the rule of law, sentences in these cases

must send a message, and that message will not be conveyed by treating the January 6 riot as a

run-of-the-mill offense.

       Resulting Offense Level

       Although Count Five is no longer before the Court, the guidelines have not changed and

the egregiousness of Alam’s conduct on that day has not changed. A 4-level upward departure

under § 5K2.7 and a 2-level upward departure under § 3A1.4 cmt. n.4(A) is therefore warranted

and the total offense level would be 30.

       Criminal History Category and Resulting Guideline Range

       The U.S. Probation Office calculated the defendant’s criminal history as category III. PSR

¶ 78. Accordingly, based on the government’s calculation of the defendant’s total adjusted offense

level of 30 (reflecting a six-level upward departure), Alam’s Guidelines imprisonment range is

121 to 151 months’ imprisonment. The government’s recommendation of 136 months’

incarceration falls in the middle of that range.

       As discussed below, even if the Court disagrees with the application of these specific

departures, the government nevertheless believes a 136-month sentence is necessary and just under

§3553(a). Thus, whether characterized internally as a departure or externally as a variance, the


                                                   17
     Case 1:21-cr-00190-DLF          Document 133        Filed 08/08/24    Page 18 of 18




government’s recommendation is fair, accounts for Alam’s egregious conduct, poor criminal

history and characteristics, and provides adequate deterrence.

   VIII.       CONCLUSION

       For the reasons set forth above, the government stands on its recommendation that the

Court impose a sentence of 136 months’ incarceration, three years of supervised release, $4,484

in restitution, and a mandatory assessment of $655.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

                                     BY:     /s/ Joseph S. Smith, Jr.
                                             JOSEPH S. SMITH. JR.
                                             CA Bar No. 200108
                                             Assistant U.S. Attorney
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             (619) 546-8299
                                             joseph.s.smith@usdoj.gov

                                             /s/ Rebekah Lederer
                                             REBEKAH LEDERER
                                             Pennsylvania Bar No. 320922
                                             Assistant U.S. Attorney
                                             601 D Street. N.W
                                             Washington, DC 20530
                                             (202) 252-7012
                                             rebekah.lederer@usdoj.gov




                                                18
